Case 7:20-cv-00244-WLS Document 59-2 Filed 02/06/24 Pageiof4

IN THE SUPERIOR COURT OF BROOKS CUUNTY

STATE OF GEORGIA
STATE OF GEORGIA, WARRANT NOS.: CR-17-158-207
CR-17-211
Vv.
Charges; j t. al
RICHARD J. MCLEOD, ESHER att
Defendant. on47
20i/ \
BLANKET BOND ORDER MAR 2 J ee
The parties having stip ulated and agreed, cut Spor Co Court!
ventie Cour
IT IS HEREBY ORDERED that the Defendant be released on bond in the amount of
$25,000.00.

FURTHER ORDERED:

(a) That the Defendant shall appear before this Court at a date and time certain to
answer said charges;

(b} That the Defendant will not violate any criminal laws of any governmental unit;

(c) That the Defendant not contact, directly or indirectly, any of the State's witnesses,
except by and through his attorney of record in said case, or have any contact with animals to
include own, possess or otherwise care for, or contact any pet shelter, humane society, rescue or

other facility associated with animals.

(d) If the Defendant resides in, travels to or is present in another state, he will agree to
waive extradition from any such jurisdiction where he may be found and not contest any effort

by said jurisdiction to return her to the State of Georgia;

(e) The defendant will communicate any and all address changes with her attomey:

AND FURTHER ORDERED, in the event said Defendant fails to comply with any one of the
aforesaid conditions, the Court may, in its discretion, revoke said bond and provision for bail and
order the arrest and detention of said Defendant until such time as the aforesaid case and charge(s)

are disposed of and final judgment entered thereon.

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Judge’s Initials Page One (1) of Two (2) Pages
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State of Georgia vs. RICHARD MCLEOD
Warrant Nos.: CR-17-158 through 17-207;

CR-17-211
£7
SO, ORDERED, this the @A/ day of March, 2017.
JUDGE, SUPERIOR COURTS
UTHERN JUDICIAL CIRCUIT
CONSENTED TO FORM BY:
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{ oc Seen Eaboc 2 NS
Assistant District A ey Clair Hughes
Southern Judicial Circuit State Bar No. 332342
atdlA a i. Assistant Public Defender
Wit hy ex press pes PWS OO} Southern Judicial Circuit
PREPARED BY:
Clair Hughes

Assistant Public Defender
State Bar No: 784090

106 South Patterson Street
Second Floor -- Suite 201
Post Office Box 1586
Valdosta, GA 31603-1586
Telephone:(229) 671-2800
Facsimile: (229) 245-5220

Page Two (2) of Two (2) Pages

STATE OF GEORGIA BROOKE COUNTY,
|, BELINGA WHEELER, GLERM OF SUPERIGR COURT OF SAID GOUNTY.
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“+ COPY WITH THE ORIGINAL REGGRD THEREGF. NOW REMAINING IN
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o- FROM, AND OF THE WHOLE OF BUCH ORIGINAL MECORD, AND THAT
7 THIS COURT IS A COURT OF RECORD.
IN TESTIMONY WHEREGF, | HAVE HEREUNTO SET MY HAND AND
AFFIXED THE SEAL OF THE SUPERIOR COURT OF BROOKS COUNTY.

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THIS THE pay or Soe
AR ee

CLERK GF SUPERIOR COURT

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